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10
                      IN THE UNITED STATES DISTRICT COURT
11                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
12
13                                                         '22CV731 BEN KSC
     MARTIN J. WALSH,                             Case No. _______
14   Secretary of Labor,
15   United States Department of Labor,           COMPLAINT
16                                  Plaintiff,
17                 v.
18   VIDAL IMPORT AND EXPORT, INC.,
19   RENE VIDAL, individually and as
     managing agent of the entity defendants,
20
     and MARTHA VIDAL, individually and as
21   managing agent of the entity defendants,
22
                                    Defendants.
23
24
25         1.      The, Plaintiff Martin J. Walsh, Secretary of Labor, United States
26   Department of Labor, brings this action to enjoin Defendants Vidal Import and
27   Export, Inc. (“Vidal”), Vidal Managing Agent Rene Vidal, and Vidal Managing
28   Agent Martha Vidal (collectively the “Defendants”), from violating provisions of

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 1   Sections 15 (a)(1), 15(a)(2) and 15(a)(5) of the Fair Labor Standards Act of 1938, as
 2   amended (“FLSA”), 29 U.S.C. §§ 215(a)(1), 215(a)(2) and 215(a)(5), and to recover
 3   amounts owed under the FLSA to employees of Defendants, as listed by name in the
 4   attached Exhibit A to this complaint, for the period from September 14, 2019,
 5   through September 13, 2021.
 6          2.      This Court has subject matter jurisdiction of this action under Section
 7   17 of the FLSA, 29 U.S.C. §217; this Court also has subject matter jurisdiction of
 8   this action under 28 U.S.C. §1331 (federal question) and §1345 (United States as
 9   Plaintiff).
10          3.      (a) Defendant Vidal is and at all relevant times has been corporation in
11   California with an office and place of business at 2323 Avenida Costa Este, Suite
12   700, San Diego, CA 92154, within the jurisdiction of this Court, and has been
13   engaged in the business as a customs warehouse broker. Vidal also has an additional
14   office and place of business in 1204 W Industrial Park Dr., Nogales, AZ 85621.
15         i.       (b) On information and belief, Defendant Rene Vidal resides within the
16   jurisdiction of this Court.
17        ii.       (c) On information and belief, Defendant Martha Vidal resides within
18   the jurisdiction of this Court.
19       iii.       (d) Defendants Rene Vidal and Martha Vidal are and at all relevant
20   times have been acting directly or indirectly in the interest of Vidal, in relation to the
21   employees of Vidal, and are employers under FLSA § 3(d), 29 U.S.C. § 203(d).
22          4.      Defendants’ activities constitute, and at all times material hereto have
23   constituted, related activities performed through unified operation or common
24   control for a common business purpose; and are, and at all times material hereto
25   have been, an “enterprise” as defined in FLSA § 3(r), 29 U.S.C. § 203(r).
26          5.      The aforesaid enterprise has, and at all times material hereto has had,
27   employees engaged in commerce or in the production of goods for commerce, or in
28   handling, selling or otherwise working on goods or materials which have been

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 1   moved in or produced for commerce. Said enterprise has, and at all times material
 2   hereto has had, an annual gross volume of sales made or business done (exclusive of
 3   any excise taxes at the retail level, if any, that were separately stated) of no less than
 4   $500,000.00; and said enterprise constitutes, and at all times material hereto has
 5   constituted, an “enterprise engaged in commerce or in the production of goods for
 6   commerce” as defined in FLSA § 3(s), 29 U.S.C. § 203(s).
 7          6.      Defendants, individually and jointly, serving as agents for one another,
 8   have controlled the material aspects of the employment relationship with all
 9   employees at Vidal’s offices and places of business located at 2323 Avenida Costa
10   Este, Suite 700, San Diego, CA 92154 and 1204 W Industrial Park Dr., Nogales, AZ
11   85621, where they operated or operate, including, hiring, firing, setting pay rates,
12   setting work schedules, assigning work, and preparing and maintaining pay records;
13   these employees are listed in the attached Exhibit A. As such, Defendants are jointly
14   and severally liable for all back wages due to their employees.
15          7.      Defendants have violated and are violating provisions of Sections 6 and
16   15(a)(2) of the FLSA, 29 U.S.C. §§ 206 and 215(a)(2), by employing employees
17   engaged in commerce or in the production of goods for commerce, or employed in
18   an enterprise engaged in commerce or in the production of goods for commerce,
19   within the meaning of the FLSA, at wage rates less than the applicable federal
20   minimum wage of $7.25 per hour. At all relevant times, Defendants have willfully
21   violated and continue to violate Sections 6 and 15(a)(2) of the FLSA, 29 U.S.C.
22   §§ 206 and 215(a)(2). Defendants knew or should have known of the FLSA’s
23   minimum wage requirements but nevertheless employed workers without properly
24   compensating them.
25          b.      Defendants have violated the provisions of Sections 7 and l5(a)(2) of
26   the FLSA, 29 U.S.C. §207 and §215(a)(2), by employing employees engaged in
27   commerce or in the production of goods for commerce, within the meaning of the
28   FLSA, or employed in an enterprise engaged in commerce or in the production of

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 1   goods for commerce, within the meaning of FLSA Section 3(s), 29 U.S.C. §
 2   203(s), for workweeks longer than 40 hours without compensating said employees
 3   for their employment in excess of 40 hours in such workweeks at rates not less
 4   than one and one-half times the regular rates at which they were employed.
 5         8.      Defendants have violated the provisions of Sections 11(c) and 15(a)(5)
 6   of the FLSA, 29 U.S.C. §211(c) and §215(a)(5), by failing to maintain, keep, and
 7   preserve records of employees and of the wages, hours, and other conditions and
 8   practices of employment maintained, as prescribed by the regulations promulgated
 9   by the Plaintiff-Secretary pursuant to the authority granted in the FLSA and
10   published in the Federal Register and known as Title 29, Code of Federal
11   Regulations, Part 516.
12         9.      During the period of September 14, 2019, through September 13, 2021,
13   Defendants violated the provisions of FLSA § 15(a)(1), 29 U.S.C. § 215(a) (1) (the
14   “hot goods” provision), by transporting, offering for transportation, shipping,
15   delivering or selling in commerce, or shipping, delivering or selling with knowledge
16   that shipment or delivery or sale in commerce was intended, goods in the production
17   of which employees of Defendants were not paid the minimum wage and/or
18   overtime required by FLSA Sections 6 and/or 7, 29 U.S.C. §§ 206 and/or 207 as
19   described above.
20         10.     (a) During the period from September 14, 2019, through September 13,
21   2021, Defendants have repeatedly and willfully violated and are violating the above-
22   described provisions of the FLSA.
23                 (b) As a result of the violations of the monetary provisions of the FLSA,
24   there is unpaid minimum wage and overtime compensation due under the FLSA that
25   are being withheld by the Defendants.
26                 (c) A judgment permanently enjoining and restraining such violations
27   of the FLSA is specifically authorized by Section 17 of FLSA, 29 U.S.C. §217.
28                 (d) A judgment enjoining and restraining the continued withholding of

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 1   unpaid overtime compensation due under the FLSA is specifically authorized by
 2   Section 17 of the FLSA, 29 U.S.C. §217.
 3                 (e) Judgment awarding unpaid minimum wage and overtime
 4   compensation due under the FLSA, plus an additional amount, as liquidated
 5   damages, that is equal to the amount of overtime compensation that accrued under
 6   the FLSA, is specifically authorized by FLSA Section 16(c), 29 U.S.C. § 216(c).
 7         WHEREFORE, cause having been shown, the Secretary prays for a judgment
 8   against Defendants as follows:
 9                 A.     (i) For an order pursuant to Section 17 of the FLSA, 29 U.S.C.
10         §217, permanently enjoining and restraining Defendants, their officers,
11         agents, servants, and employees, and those persons in active concert or
12         participation with them, from prospectively violating the provisions of
13         Sections 15(a)(1), 15(a)(2) and 15(a)(5) of the FLSA, 29 U.S.C. §§ 215(a)(1),
14         215(a)(2) and 215(a)(5); and
15                 B.     For an order
16                 (i) pursuant to FLSA § 16(c), 29 U.S.C. § 216(c) finding the
17         Defendants liable for any unpaid minimum wage and overtime
18         compensation that may be found by the Court to be due under the FLSA plus
19         an additional amount as and for liquidated damages, equal to any minimum
20         wage and overtime compensation found to have accrued under the FLSA, to
21         present and former employees of Defendants including the persons listed by
22         name on the attached Exhibit A; or
23                 (ii) in any instances where liquidated damages are not awarded herein,
24         restraining, pursuant to FLSA § 17, 29 U.S.C. § 217, the Defendants, their
25         officers, agents, servants and employees and all persons in active concert or
26         participation with them, from continuing to withhold the payment of any
27         unpaid minimum wage and overtime compensation that may be found by
28         this Court to have accrued under the FLSA to present and former employees

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 1         of Defendants including the persons listed by name on the attached Exhibit
 2         A, plus pre-judgment interest thereon; and,
 3                 C. Awarding the Secretary the costs of this action and providing such
 4         further legal and equitable relief as may be deemed appropriate.
 5
 6   Dated: May 20, 2022                          SEEMA NANDA
 7                                                Solicitor of Labor

 8                                                MARC PILOTIN
 9                                                Regional Solicitor
10                                                BORIS ORLOV
11                                                Wage and Hour Counsel
12
13                                                /s/Adriana Ahumada
14                                                ADRIANA AHUMADA
                                                  Trial Attorney
15                                                Attorneys for the Plaintiff
16                                                U.S. Department of Labor
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 1                                     EXHIBIT A
 2         1. Carlos Alatorre Flores
 3         2. Olger Arjona
 4         3. Israel Briseno Ruiz
 5         4. Ivan Carvajal
 6         5. Daniel Cervantes Perez
 7         6. Guillermo Chavira Mendez
 8         7. Jesus Contreras
 9         8. Miguel Garcia Tellez
10         9. Ignacio Levya
11         10.Julio Lobo
12         11.Benjamin Montijo
13         12.Mario Ortiz
14         13.Manuel Peralta
15         14.Wendy Idelfonso
16         15.Adrian Prado
17         16.Carlos Ramirez
18         17.Jesus Ruiz Rosa
19         18.Angel Santana Garcia
20         19.Sergio Valencia
21         20.Manuel Vicencio Moreno
22         21.Victor Vicencio Moreno
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